           Case 2:08-cv-00490-JAM Document 45 Filed 10/09/08 Page 1 of 2
 1

     HUGHES & PRITCHARD, LLP
     Gregory J. Hughes #071288
 2   Amelia Ryan Pritchard #196902
     Christopher D. Hughes #254864
 3   3017 Douglas Boulevard, Suite 300
     Roseville, California 95661
 4   Telephone (916) 774-7506
     Facsimile (916) 791-1644
 5
     Attorneys for Appellees
 6   Clayeo C. Arnold and
     Clayeo C. Arnold, Professional Law Corporation
 7
 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10
11
                                      )          District Court Case Number
12   MELANIE HUGHES                   )          2:08CV-00490 JAM
                                      )
13                     Appellant.     )          Bankruptcy Court Case Number
                                      )          No.   05-22777-D-7
14                                    )
                                      )          Adversary Proceeding Number
15                     v.             )          No.   05-2225-004
                                      )
16                                    )
                                      )          ORDER DENYING MOTION FOR REHEARING
17   CLAYEO C. ARNOLD and CLAYEO )
     ARNOLD, PROFESSIONAL LAW         )
18   CORPORATION                      )
                                      )          DATE:          October 1, 2008
19                     Appellees.     )          TIME:          9:00 am
                                      )          CTRM:          Courtroom 6, 14th Floor
20                                    )
     ________________________________ )
21
22           Appellant’s Motion for Rehearing having come on for hearing before the undersigned on

23   October 1, 2008, with appearances by Appellant Melanie Hughes, in propia persona, and Gregory J.

24   Hughes, on behalf of Appellees Clayeo C. Arnold and Clayeo C. Arnold, Professional Law

25   Corporation, and the Court having stated its decision on the record, now therefor,

26   ///

27   ///

28   ///
        Case 2:08-cv-00490-JAM Document 45 Filed 10/09/08 Page 2 of 2
 1


              IT IS HEREBY ORDERED that the motion is denied.
 2
 3   Dated: October 8, 2008
 4
 5                                            /s/ John A. Mendez
                                              HON. JOHN A. MENDEZ
 6                                            U.S. District Court Judge
 7
 8
 9
10
11
12
     APPROVED AS TO FORM AND SUBSTANCE.
13
     Dated:     October 7, 2008
14
                                              Hughes & Pritchard LLP
15
16                                            By         /S/ Gregory J. Hughes
                                              Gregory J. Hughes,
17                                            Attorney for Appellees
18
19
     Dated:
20
21                                                Declined to sign
                                              Melanie Hughes, In Propia Persona
22
23
24
25
26
27
28

                                                  2
